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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                                                1:18-CV-4420
 PAUL GAROFALO, JOHN SILIEZAR,                                                   (ARR) (PK)
 STEVE PIPITONE, JUAN CANELO,
 PETER REY, JONATHAN SIMINGTON,
 JESUS ZAPATA, DAVID ORELLANA,                                                PLAINTIFFS’
                                                                           CONFIDENTIALITY
 JAMAL THALIB, ALEXANDER HIDALGO, FRANCIS                                       REQUIRED& ORDER
                                                                           STIPULATION
 RICCIO, and GABRIEL APARICIO,                                               DISCLOSURES
                                                                             PURSUANT TO
                                                PLAINTIFFS,                 FEDERAL
                                                                           Case          RULE
                                                                                No.: 18-cv-02272
                                                                                 OF(ARR)
                                                                                     CIVIL (PK)
                    -VS-                                                      PROCEDURE
                                                                                 RULE 26

 VIVINT SOLAR, INC.,

                                                DEFENDANT.




                                 CONFIDENTIALITY ORDER

       To expedite the flow of discovery material, facilitate the prompt resolution of disputes
over confidentiality, protect the confidentiality of medical records, as well as material entitled to
be kept confidential, and ensure that protection is afforded only to material so entitled, it is
hereby ORDERED:

1.     Nondisclosure of “Confidential” Documents

        a.       A “Confidential” document means any document produced in this litigation which
bears the legend (or which shall otherwise have had the legend recorded upon it in a way that
brings it to the attention of a reasonable examiner) “CONFIDENTIAL” to signify that it contains
information believed to be subject to protection. For purposes of this Order, the term
“Confidential Information” shall mean any information that meets the standards for protection
under Rule 26(c) of the Federal Rules of Civil Procedure. For purposes of this Order, all
documents and/or records produced by any party shall automatically be deemed confidential and
shall not be required to bear such a legend. For purposes of this Order, the term “document”
means documents and things subject to copying and inspection under Rule 34 of the Federal
Rules of Civil Procedure, including but not limited to employment records, records produced
while in the course of employment, tax records, personal financial documents and other written,
recorded or graphic material, whether produced or created by a party or another person, whether
produced pursuant to subpoena, by agreement, or otherwise and shall include but is not limited to
interrogatory answers, transcripts of examinations under oath, transcripts of examinations before
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trial, responses to requests for admission and other discovery responses that quote, summarize or
contain material entitled to protection.

         b.      Except as provided in subparagraph (a) above and paragraph 3 below or with the
prior written consent of the party or other person originally designating a document produced in
this litigation to be stamped as a “Confidential” document, or as hereinafter provided under this
Order, no document produced and designated as “Confidential” in this litigation may be
disclosed to any person or entity except as set forth in paragraph 2 below.

2.      Confidentiality of Documents obtained through discovery of non-parties

         a.     Prior to inspection, review or use, of any document or documents concerning any
party (the “Concerned Party”), that were received or obtained pursuant to subpoena,
authorization or other legal process upon a third party or non-party in possession or control of
such documents or documents, and which the Concerned Party has not produced and therefore
not had an opportunity to inspect, review and mark as “Confidential,” such documents shall be
made available to the Concerned Party for its inspection and review, and the Concerned Party
shall be provided an opportunity to mark such documents as “Confidential.” Upon completion
of its inspection and review, but in no event longer than 10 days following notification that such
documents are available for inspection and review, the Concerned Party shall notify the other
Party which, if any, documents are being marked as “Confidential.” Thereafter, the Party in
receipt of such documents from a third party or non-party shall be entitled to review the
documents, regardless of whether the Concerned Party reviewed and marked as “Confidential”
any of the documents for which notice was provided under the paragraph. Nothing herein shall
be interpreted or construed as relieving the Concerned Party of timely filing a motion for a
protective order with respect to any subpoena.

3.      Permissible Disclosures of “Confidential” Documents

         a.      Notwithstanding Paragraph 1, “Confidential” documents may be disclosed to the
parties to this action; counsel for the parties in this action; to the partners, associates, secretaries,
paralegals, assistants, and employees of such counsel to the extent reasonably necessary to
render professional services in the litigation; to persons or entities that are clearly identified in
the document as an author, addressee, or carbon-copy recipient; to court officials involved in this
litigation (including court reporters, persons operating video recording equipment at depositions,
and any special master appointed by the court); and any other person mutually agreed upon by
the parties. Subject to the provisions of Paragraph 3 (b), such documents may also be disclosed
to:

                i.      any person designated by the Court in the interest of justice,
                        upon such terms as the Court may deem just and proper;

                ii.     persons noticed for depositions or designated as trial witnesses to
                        the extent reasonably necessary in preparing to testify;




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               iii.    outside consultants or experts retained for the purpose of
                       assisting counsel in the litigation; and

               iv.     entities and employees of entities involved solely in one or more
                       aspects of copying, organizing, filing, coding, converting,
                       storing, or retrieving data.

       b.      In all such cases where disclosure is to be made to any person or entity listed in
Paragraph 3(a) (i) - (iv), such individual or entity must sign the Confidentiality Agreement
annexed hereto as Exhibit A. Any individual or entity listed in Paragraph 3(a) (i) - (iv) that
refuses to sign Exhibit A shall not be permitted to have access to or view the “Confidential”
document. The Attorney making or seeking to make the disclosure shall maintain each executed
Confidentiality Agreement in his/her files.

4.     Declassification

        A party (or aggrieved person permitted by the Court to intervene for such purpose) may
object to the designation of a document or category of documents as “Confidential” by first
stating such objection in writing to the designating party. If the parties cannot agree on a proper
designation for the document(s) within 10 business days of written notice, the objecting party or
aggrieved person may apply to the Court for a ruling that a document or category of documents
designated as “Confidential” is not entitled to such status and protection. The party or other
person that so designated the document shall be given notice of the application and an
opportunity to respond. To maintain protected status, the proponent will have the burden of
establishing that the information meets the standards that have evolved under Rule 26(c) and
must show by a preponderance of the evidence that there is good cause for the document to have
such protection.      The document, however, shall maintain its original designation as
“Confidential” until the Court resolves the dispute over the applicable designation.

5.     Use of “Confidential” Documents in a Deposition

        a.      A deponent may during the deposition be shown and examined about a
“Confidential” document if the deponent is the author or a named recipient of the document or is
the party that produced such Confidential document or if the applicable provisions of paragraphs
1(b) are complied with. Deponents shall not retain or copy any “Confidential” document that is
provided to them during the course of their deposition.

       b.      In the event that any question is asked at a deposition that requires the disclosure
of “Confidential” information, such question shall nonetheless be answered by the witness fully
and completely. At the request of the party designating discovery material as “Confidential,” all
persons other than the witness, the parties, counsel for the parties, any other person designated in
paragraph 3 above, and the court reporter shall leave the room during the time this information is
disclosed or discussed. The attorney designating the information as “Confidential” may also
contemporaneously notify all other counsel on the record that the information disclosed will be
designated as “Confidential” in accordance with Paragraph (6)(c).




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        c.     Parties (and deponents) may, within 30 days after receiving the official deposition
transcript, designate pages of the transcript (and exhibits thereto) as “Confidential.”
“Confidential” information within the deposition transcript may be designated by underlining the
portions of the pages that contain “Confidential” information and marking such pages with the
following legend: “CONFIDENTIAL.” Until expiration of the 30-day period, the entire
deposition will be treated as subject to the protection afforded to “Confidential” documents. If a
timely designation is made, the “Confidential” portions and exhibits shall be subject to the terms
of this Order and may only be accessed and reviewed in accordance with the terms contained in
this Order.

6.     Use of “Confidential” Documents at a Hearing or Trial

       a.      “Confidential” documents may be offered in evidence at trial or any court
hearing, provided that (1) such documents or other information shall be retained under seal by
the Court or the trier of fact and be subject to the terms of this Order; and (2) the proponent of
the evidence gives five (5) days advance notice, consisting of a statement that “Confidential”
documents or information will be presented at the hearing or trial, to counsel for any party or
other person that designated the documents as “Confidential.” Any party may also move the
Court for an order that the evidence be received in camera or under any other conditions to
prevent unnecessary disclosure. Nothing contained in this paragraph shall prohibit any party
from moving the Court for any other order that the party may deem appropriate.

       b.       With respect to testimony elicited during hearings and other proceedings,
whenever counsel for any party deems that any questions or line of questioning calls for the
disclosure of “Confidential” information, counsel may designate on the record prior to such
disclosure that such information is subject to the terms of this Order. Subject to further order of
the Court, any presentation of “Confidential” information to this Court or prior to trial shall be
made in the presence of only the presiding officer and other court personnel, jurors, an
authorized court reporter, counsel of record for the parties, the witness who will be questioned on
such document(s) at any hearing or trial, and such other person to whom disclosure is permitted
under the terms of this Order. Prior to the disclosure of any “Confidential” documents or
information, the presiding officer or Clerk of the Court shall advise all court personnel, jurors,
witnesses and court reporters of the confidential nature of this information and of the duty to
maintain the confidentiality of such information.

7.     Use of “Confidential” Documents and Information in Legal Documents

        If any party wishes to file information or documents which have been designated as
“Confidential” with the Court, such party must first e-file a motion seeking leave to file such
information or documents under seal, and shall only file such information or documents with the
Court in accordance with the procedures set forth in Addendum 1, annexed hereto. The same
requirement set forth in this Paragraph 8, and in Addendum 1, shall apply if any information
designated as “Confidential” is quoted, attached to, or substantially paraphrased in any pleading,
motion, memorandum, appendix, or other judicial filing. Disclosure of any portion of the
transcript of a deposition which reflects or contains “Confidential” information or documents
shall render the pleading, motion, memorandum, appendix or other judicial filing subject to the



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terms of this Order and the filing process set forth in Addendum 1. Nothing contained herein
limits a producing party’s use or disclosure of its own discovery material..

8.     Use

        In the event that any person or entity referred to in paragraph 3 of this Order is served
with legal process or otherwise required to disclose, either by statute or other compulsory
process, any confidential information (the “Disclosing Entity”) by any person or entity not
covered by this Order, including, without limitation, other insurance carriers, state, local or
federal agencies, the National Insurance Crimes Bureau or litigants in other litigation, the
Disclosing Entity shall give notice thereof, by telephone and facsimile, as soon as practicable but
in any event sufficiently prior to the requested disclosure to afford an opportunity to intervene
for any party who may be adversely affected by the disclosure.

9.     Production of Documents

        In order to facilitate the prompt and thorough document production, the parties shall
undertake all reasonable efforts to produce copies of requested and discoverable documents in
electronic format. Any documents maintained by a producing party, in the ordinary course of
business, in hard-copy form only, may be produced in electronic format at the producing party’s
discretion. In lieu of the foregoing each party shall make available to each other’s counsel, at the
offices of their respective counsel, or location that they might otherwise designate, documents to
be produced in this litigation, in either paper or electronic format. Notwithstanding the foregoing,
no party shall have any obligation to produce documents in a form or manner other than that
required by Rule 34 of The Federal Rules of Civil Procedure.

        The reviewing party may designate documents that it seeks copies of. The producing
party’s counsel may review any material sought by the reviewing party prior to production for
privilege, work product, or other issues and designate any material CONFIDENTIAL if required.
The producing party will withhold any material designated as privileged or work product from
the copies produced to the reviewing party, but will accompany such production with a privilege
log identifying the documents withheld. Notwithstanding the foregoing, nothing contained in this
Order shall prohibit a producing party from withholding documents prior to their production and
review and inspection by the reviewing party, subject to the providing of a privilege log
identifying the documents withheld.

10.    Non-Termination

        The provisions of this order shall not terminate at the conclusion of this action. Within 60
days after final conclusion of all aspects of this litigation, “Confidential” documents and all
copies (including summaries and excerpts) shall be returned to the party or person that produced
such documents or, at the option of the producer, be destroyed. All counsel of record shall make
certification of compliance herewith and shall deliver the same to counsel for the party who
produced the documents not more than 60 days after final termination of this litigation, provided,
however, that counsel for the parties may retain in their own files all pleadings, court filings,
transcripts, exhibits, notes and memoranda and work product embodying Confidential



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documents; provided further, however, that any such pleadings, court filings, transcripts,
exhibits, notes and memoranda and work product retained shall remain confidential and subject
to the restrictions contained in this Order.

11.    Modification Permitted

       Nothing herein shall prevent any party from moving for an amendment of this Order or
from in any way seeking further, greater, or lesser protection with respect to the use or disclosure
of any Confidential documents or from objecting to discovery that it believes to be otherwise
improper.

12.    Responsibility of Attorneys
        The attorneys of record are responsible for employing reasonable measures, consistent
with this Order, to control duplication of, access to, and distribution of copies of “Confidential”
documents.

13.    No Waiver

       a.       Review of the “Confidential” documents and information by counsel, experts, or
consultants for the litigants in the litigation shall not waive the confidentiality of the documents
or objections to production.

        b.     The inadvertent, unintentional, or in camera disclosure of confidential or
privileged documents shall not, under any circumstances, be deemed a waiver, in whole or in
part, of any party’s claims of confidentiality or privilege, as to the documents themselves, or as
to any other documents or information not disclosed. Nothing contained in this paragraph shall
prevent a party from moving the Court for an order declaring that a disclosure was inadvertent or
unintentional.

       c.       The intentional disclosure of a confidential document in a manner in violation of
or inconsistent with the terms of this Agreement shall be submitted to the Court for consideration
of appropriate sanctions.

        d.     Nothing contained in this Order and no action taken pursuant to it shall prejudice
the right of any party to contest the alleged relevancy, admissibility, or discoverability of the
“Confidential” documents sought.




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Dated: September ___, 2019                Dated: September ___, 2019


       s/ Eitan Nof                               s/ Scott D. Piper
Eitan Nof, Esq.                           Scott D. Piper, Esq.
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E-Mail: enof@mandellandsantora.net        E-Mail: spiper@harrisbeach.com



SO ORDERED,

Date:


_______________________________

Honorable Peggy Kuo
United States Magistrate Judge
United States District Court
Eastern District of New York




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                            EXHIBIT A

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                            CONFIDENTIALITY AGREEMENT


I, __________________________, state the following:


       I have read and understand the attached Confidentiality Order (the “Order”), and I attest

to my understanding that access to information designated as “Confidential” may be provided to

me and that such access shall be pursuant to the terms and conditions and restrictions of the

Order. I agree to be bound to the terms of the Order, both with respect to this Court’s powers of

supervision of the litigation of the above-captioned case and to the party that produced the

protected documents and information. I further understand that information designated as

“Confidential,” and any information derived therefrom, may not be used, copied, or disclosed by

me to anyone else except in strict accordance with the Order and then only for the prosecution

and defense of this Action, except as otherwise expressly provided in the Order or as otherwise

directed or ordered by the Court.




Date:______________________                                ______________________________
                                                           Signature

                                                           ______________________________
                                                           Printed Name
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                                          ADDENDUM 1




                                 United States District Court
                                 Eastern District of New York
          Documents must not be filed under seal or ex parte unless the court has granted a
          motion for leave to file under seal. Please follow these steps.

                 Steps for E-filing Sealed Documents - Civil Cases
 1.      Attorney e-files a Motion for leave to e-file a Sealed Document. The proposed
         document(s) to be e-filed under seal must be an attachment to this filing.

         A Notice of Electronic Filing (NEF) will be sent to all case participants.

         At the time of this filing, the Docket Entry will be public, but the attached Motion and
         Proposed Sealed Document(s) will be sealed. (Even the filing party will not have
         access to the attached documents through ECF.)

 2.      Judge will enter an order ruling on the Motion for Leave to file Sealed Document(s):


         A Notice of Electronic Filing (NEF) will be sent to all case participants.

         At the time of this filing, the Docket Entry of the Judge's order will be public, but the
         attached order will be sealed.

         If the Order grants the Motion for Leave to e- file Sealed Document - a prompt will
         direct the attorney to file the Sealed Document(s) again, using the appropriate Event and
         the Sealed Document event.


                     For example; to e-file a Sealed Motion to Compel:
              Under Motions: select both the Sealed Document and Compel events.
                       Both selections should appear in the Selected Events box.
        The NEF will include a link to EDNY's instructions on how to e-file sealed
        documents, which is posted on our website.

        If Order denies the Motion for Leave to e-file Sealed Document, a prompt will notify
        attorney that they are not allowed to e-file the Document as a Sealed Document. The
        attorney may then choose to either e-file it as a public document or not to file it.

 Note: E-filing a motion for leave to e-file as sealed document is not the same as the e-filing of a
 motion for leave to e-file an ex parte document. An ex parte document is viewable by court staff
 and the filing party. A sealed document is viewable only by those with sealed access to the case.


  Revised 06/29/2017
